Case 1:24-cr-00007-HYJ   ECF No. 71-1, PageID.374   Filed 10/28/24   Page 1 of 5




                  EXHIBIT 1
                          Case 1:24-cr-00007-HYJ            ECF No. 71-1, PageID.375               Filed 10/28/24        Page 2 of 5

                                                                       U.S. v. Densmore
                                                                   Discord Chat Examples

                                 *Please note that supporting chat files in Exhibit 2 run in reverse chronological order*


      File         Chat Type                                                            Description
(last 4 digits)   (Server/DM)
     9697            Server     October 2022. Sewer server chat referencing explicit pictures.
     6767            Server     December 2022. Densmore (Rabid) advertising “youngboy cutshow in vc [video chat] SEWER.” “Cutshow in
                                sewer.” “Cutshow 13yo female.”
    3367             DM         December 2022. Densmore asking for anus pictures and “[w]rite sewer on your t-ts” from school-aged girl. Also talking
                                about “Jane Doe” on camera. (“[Jane Doe] was showing her t-ts and about to masturbate in vc [video chat].”) Densmore
                                notes that when a server is reported “[t]hey take months to investigate . . . [b]y that time [i]t’s long gone.” Densmore says,
                                “I get in their heads and make them do shit for me . . . Why do you think all these kids follow me for over a year?”

    1321             DM         September 2022. User says “Im 14” and Densmore acknowledges, “ur 14.” User tells Densmore, “U allow groom sessions
                                in your server.” Densmore acknowledges that “[t]he owner of 764 is hanging around now.” Densmore complains that the
                                user “just wanted to kill my server I work so hard getting ppl in and making active.” Densmore asks the school-aged girl
                                for a picture of her anus and says, “I’ve seen the booty ur hot” and “[y]our [genital] looks nice too. Really good body.”

    0843             DM         September 2022. Densmore says, “Being discord famous isn’t all it’s cracked up to me.”
    7082             DM         September 2022. Densmore says he is the owner of the Sewer server and that he “was in the old 764 before it got shut
                                down.”
    9322            Server      September 2022. Densmore says he’s “getting in shape from all the esex with [“Jane Doe,” a minor]. Densmore says,
                                “Time [to] sexualize some minors.” Densmore asks, “Where’s the cp and bloodlust nudes for ffs.” Densmore tells
                                everyone to “check out this nude 14 yo in vc [video chat.” Densmore asks if anyone “[w]ant[s] to see [“Jane Doe”]
                                masterbating vid?”
    0227            Server      October 2022. Sewer server users say, “I love cp” and “I came for cp.” One user asks, “guys this isn’t a cp
                                server is it,” to which another user responds, “it is.”
    6221             DM         September 2022. Densmore lies and says he’s a 14 year old girl.
    8339             DM         September 2022. Densmore says, “Someone called the cops so we moving.”
    4010             DM         September 2022. Densmore sends links to a new Sewer server.
    2622             DM         September 2022. Chat with “Jane Doe 2.” “ Jane Doe 2” mentions being interviewed by law enforcement and tells
                                Densmore, “u have cp of me.”
    4380             DM         September 2022. Densmore says he’s watching someone cut themselves, other gore, and says, “I’m desensitized to
                                everything.”
             Case 1:24-cr-00007-HYJ         ECF No. 71-1, PageID.376             Filed 10/28/24       Page 3 of 5

                                                      U.S. v. Densmore
                                                  Discord Chat Examples

                  *Please note that supporting chat files in Exhibit 2 run in reverse chronological order*


4022    DM       September 2022. Densmore says he was “pissed because I lost my most active server that had all of cultist in it.”
                 User tells Densmore, “im 15.” Densmore asks, “Wanna esex” and says he has nude pictures of the user. Densmore talks
                 about “Jane Doe” and says “[s]he always on cam with her [breasts] and [genitals] or rubbing [genitals].” Densmore says
                 that “Jane Doe” is 14. User asks if “Jane Doe” is 14; Densmore replies “Yh.” User tells Densmore that his profile
                 picture is child pornography because it’s a picture of “Jane Doe.” User asks why Densmore “would . . . allow [a] 14 yrs
                 old [t]hat goes naked in vc.”
8576    DM       September 2022. Densmore references a 14 year old who “gets with adults on here [server] a different dude every day.”
2568    DM       September 2022. Densmore says that his “[s]erver is pretty fucked [b]ut at least we got to watch [“Jane Doe”] in the
                 shower teehee.”
6076    DM       September 2022. Densmore says he “wanted to make a fresh server” and that “Jane Doe” is “in VC with her cam on
                 doing stuff 24 hours a day it’s really the only reason cultist is so popular.” User asks how old “Jane Doe” is, Densmore
                 replies, “You don’t want to know.” Densmore says “[p]retty sure they all are [underage] TBH but some are way
                 underage and lie about it.”
8581   Server    September 2022. Densmore says, “Grand Rapids is big but Detroit is huge I live farther north in the woods.” Densmore
                 says “Jane Doe” is “so sexy.” Densmore says, “She [“Jane Doe”] did shit for me what did she do for you?”
9999    DM       September 2022. User tells Densmore that she is 12 years old and was born in 2010. Densmore tells the user to get on
                 camera. User asks Densmore, “Are you trying to groom me?” to which Densmore replies, “How do you feel about that.”
                 User says, “idk im 12.” User says she will have virtual sex with Densmore, but not to tell anyone. Densmore says, “I
                 would never I swear” and further agrees not to screen shot or record the encounter. Densmore says, “I want you.”
2587    DM       September 2022. Densmore sends Telegram links and tells the user, “It’s like this [Discord] but you can get away with
                 more.”
2266    DM       September 2022. User asks who is in Densmore’s profile picture. Densmore says, “It’s [“Jane Doe”] she’s the queen of
                 Cultist.” Densmore says he’s using that picture to troll “Jane Doe’s” boyfriend.
7987    DM       September 2022. User asks Densmore if he is a fed because “why else would you be in a pedo server.” Densmore says,
                 “Well I made it. Could be a reason.”
2152    DM       September 2022. Chat with a now deleted user “fcb61a7#2283,” who is identified as Rabid/Densmore.
0637    DM       September 2022. Densmore says that his Telegram server got shut down and that he “posted the link in a cp
                 discord.” Densmore asks, “Why can’t these ppl just let me be famous.” Densmore says, “I think I’m going to require
                 everyone to post something bad” to prove they are not a fed. User asks whether Densmore is a cop, to which Densmore
                 replies, “Multiple 13-15 year olds on here would disagree.”
9960    DM       September 2022. User asks Densmore for child pornography. Densmore says, “Just wait for ppl to do it in chat.”
5912    DM       September 2022. Densmore tells a user that “Jane Doe” is on cam in vc.” The user says, “So juicy. Damn. A nice
                 handful.”
0523    DM       September 2022. User asks “who’s [“Jane Doe”].” Densmore responds, “The redhead. Always on cam.”
            Case 1:24-cr-00007-HYJ          ECF No. 71-1, PageID.377              Filed 10/28/24       Page 4 of 5

                                                      U.S. v. Densmore
                                                  Discord Chat Examples

                 *Please note that supporting chat files in Exhibit 2 run in reverse chronological order*


7029   DM       September 2022. User asks Densmore, “who’s that other girl? She’s cute.” Densmore says that it’s “Jane Doe.” User
                says, “That’s some wild shit going on” in Sewer. Densmore replies, “Just don’t report. Some weird shit goes on.”
3032   DM       October 2022. Densmore asks “Jane Doe,” “Write rabid . . . on dem [breasts].” “Jane Doe” says, “I don’t need [another
                Discord user] findin[g] out and killing me a[g]ain.” Densmore says, “do it no balls.” “Jane Doe” says, “Ur right. Fine.
                In my bra tho.” Densmore says, “[N]o bra just don’t show nips. If you don’t want.” “Jane Doe” says, “okay deal. but
                no snitching.”
9371   DM       September 2022. User tells Densmore, “gna do a cut show for u.” Densmore says, “Ooooooo hot.”
4306   DM       September 2022. Chat between Densmore and another Discord user. Densmore asks the user, “Tell [“Jane Doe”] to give
                me a full body nude with rabid written on her [breasts].” Densmore sends the user a link for Discord Nitro currency
                immediately thereafter. Discussion about trading nude pictures of users.
3443   DM       September 2022. Densmore says he has Discord Nitro “[b]ecause military retirement check” and that he “spent it on
                egirls.” Densmore makes an explicit sexual reference about an underage girl. Densmore asks the user to “help me
                groom this little girl.”
9949   DM       September 2022. Densmore says, “I don’t care about making new accounts and servers. I’m getting pretty quick at it . . .
                I mean if you’re in these types you should be used to it.” Densmore tells the user, “I could invite you to some places that
                will get you banned and probably arrested.” Densmore references a “kill and rape kids server.”
2854   DM       September 2022. User talks about cutting. Densmore says, “Ohhh [s]exy. Do rabid.” The user says, “noooo i don’t like
                doing cut signs . . . i has too many names on my legs.” Densmore says, “cut rabid.”
1156   DM       September 2022. Densmore says he “was in a vc with [another Discord user] fighting with a child that he payed [sic] to
                do sex stuff on cam.” Densmore says, “The stuff I see ppl do is vile. And I just watch it like nothing’s wrong.”
                Densmore also says, “I did try to be noticed and make friends. It was a mistake. I literally watched a girl cut her ass off.
                Skinned herself. You could see the bone. I need to get away from these ppl.”
8436   DM       October 2022. Densmore says one of his user names is plague764. Densmore talks about finding out who another user is
                “[b]ecause they are law enforcement” and that he needs to “ban them asap.”
5210   DM       September 2022. Densmore says that he is “[t]he owner of cultist and 764. I want you to cut for me.” User says they
                don’t cut, to which Densmore responds: “You do now. . . . Don’t make daddy angry. I’ll extort you. I have all your
                information. I own you.. You do what I say now kitten.”
5796   DM       October 2022. Densmore tells the user, “Esex me or I’ll dox you ..I’m fr. I need you. Keep it between us.”
                Densmore says, “But yh I’ve already seen everything and heard you masterbating. No need to be shy.” Densmore asks,
                “Can I watch you put sm in on cam? I’ll give nitro.” Later, Densmore asks, “Can we sex for nitro. I won’t tell. I
                swear.” User tells Densmore that she “cut and it wont stop bleeding. My arm is lik[e] turning grey.” Densmore tells her
                to tell her mom and go to the hospital.
4116   DM       October 2022. Densmore asks for fansigns on a user’s breasts and feet (“Write rabid made me do this on your foot.”)
0830   DM       October 2022. User tells Densmore they are a national socialist. Densmore tells the user he has her IP address: “Yh I
                have your ip. So youre going to be a good little kitten for daddy.”
            Case 1:24-cr-00007-HYJ         ECF No. 71-1, PageID.378              Filed 10/28/24        Page 5 of 5

                                                     U.S. v. Densmore
                                                  Discord Chat Examples

                 *Please note that supporting chat files in Exhibit 2 run in reverse chronological order*


2482   DM       October 2022. Densmore and another user talk about the user making someone kill herself. User says he will try to stop
                it and “[i]f she doesn’t listen I’ll call her mom[] and tell her to make her stop.” Densmore says, “Don’t call her mom.”
3280   DM       October 2022. Densmore acknowledges that his server is “pretty active and popular [b]ut ppl get groomed and leaked
                [a]nd other stuff.” Densmore says, “I have multiple girls begging me to groom them.” User tells Densmore that people
                are cutting on his server. Densmore says, “It’s pretty retarded that people join sh [self-harm] servers and have a problem
                with sh.” User tells Densmore that he abuses people. Densmore says, “I gaslight and make them fucked up. Then they
                follow me.” Densmore says he does it “for lulz.” “We got a girl to cut her ass off on cam,” Densmore says. “They kill
                their pets too. Most will do anything for power.” User tells Densmore there is no reason to abuse people; Densmore
                responds, “They beg for it.”
6499   DM       October 2022. Example of Densmore asking for different kinds of pictures and fansigns.
6359   DM       December 2022. User asks Densmore, “Want a 13 year old girl to show. I got one.” Densmore says, “Yes.”
